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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §                 Case No: 2:15-cv-01431-JRG
                                    §
vs.                                 §                 LEAD CASE
                                    §
GUARDIAN PROTECTION SERVICES, §
INC.                                §
                                    §
      Defendant.                    §
____________________________________§
ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §                 Case No: 2:15-cv-001464-JRG
                                    §
vs.                                 §                 CONSOLIDATED CASE
                                    §
ALARM SECURITY GROUP, LLC           §
                                    §
      Defendant.                    §
___________________________________ §

                    ORDER OF DISMISSAL OF DEFENDANT ALARM
                    SECURITY GROUP, LLC WITHOUT PREJUDICE

       On this day the Court considered the Unopposed Motion to Dismiss Alarm Security Group,
LLC Without Prejudice, in the lawsuit between Plaintiff Rothschild Connected Devices
Innovations, LLC (“Rothschild”) and Alarm Security Group, LLC. Having considered the Motion
and the pleadings in this case, the Court is of the opinion that the Motion should be, and is hereby,
GRANTED.
       It is therefore ORDERED that all claims asserted by Rothschild Connected Devices
Innovations, LLC against Alarm Security Group, LLC. are hereby DISMISSED WITHOUT
PREJUDICE pursuant to Fed. R. Civ. P. 41(a)(2), with each party to bear its own costs, attorneys’
fees and other litigation expenses.
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        SIGNED this 3rd day of January, 2012.
       SIGNED this 21st day of December, 2015.




                                                ____________________________________
                                                ROY S. PAYNE
                                                UNITED STATES MAGISTRATE JUDGE
